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                    IN THE UNITED STATES DISTRICT COURT FOR THE
                             WESTERN DISTRICT OF TEXAS
                                  EL PASO DIVISION



 LEAGUE OF UNITED LATIN AMERICAN
 CITIZENS, et al.,

      Plaintiffs,                                               CIVIL ACTION NO.
                                                            3:21-cv-00259-DCG-JES-JVB
 v.                                                                  [Lead Case]
                                                                         &
 GREG ABBOTT, in his official capacity as                      All Consolidated Cases
 Governor of the State of Texas, et al.,

      Defendants.



          LULAC PLAINTIFFS’ NOTICE OF FILING OF EXPERT WITNESS REPORTS

          Pursuant to the Court’s Supplemental Pretrial Scheduling Order dated May 1, 2025 (Dkt.

921), Plaintiffs LULAC, et al., hereby file the expert reports upon which they intend to rely at trial.

The expert reports attached to this submission are:

      •   Attachment A: Expert Report of Dr. Bernard Fraga

      •   Attachment B: Expert Reports of Dr. Maria Cristina Morales

      •   Attachment C: Expert Report of Dr. Rogelio Saenz

      •   Attachment D: Expert Report of Dr. Andres Tijerina

           LULAC Plaintiffs further advise the Court that they sent, by Federal Express, binders

containing color copies of the reports listed above. Although LULAC Plaintiffs sent the binders

for delivery on Friday May 2, 2025, Federal Express notified LULAC Plaintiffs on May 2, 2025

that the delivery was delayed. See Exhibit E.

Date: May 2, 2025                              Respectfully submitted,


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                                             Counsel for LULAC Plaintiffs


                                CERTIFICATE OF SERVICE

        The undersigned counsel hereby certifies that she has electronically submitted a true and
correct copy of the above and foregoing via the Court’s electronic filing system on the 2nd day
of May, 2025.
                                                    /s/ Nina Perales
                                                    Nina Perales


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